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                                                                                    Form 1                                                                              Page: 1

                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:           17-40327 KKS                                                           Trustee: (290330)           Mary W. Colon, chapter 7 trustee
Case Name:             WILSON, DON THORNTON                                                   Filed (f) or Converted (c): 07/27/17 (f)
                                                                                              §341(a) Meeting Date:       08/21/17
Period Ending:         12/31/17                                                               Claims Bar Date:            01/10/18

                                  1                                        2                         3                          4                  5                    6

                       Asset Description                                Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

 1       2132 Danshire Dr, Tallahassee, FL 32308-3859                   138,000.00                           0.00                                       0.00                    FA

 2       2003 Chevrolet Astro, 139500 miles, Needs work.                   1,000.00                          0.00                                       0.00                    FA

 3       Household Goods                                                       200.00                      200.00                                      33.34                 166.66
          Exemption removed on amended schedules doc. 10

 4       TV, Laptop, Tablet                                                    300.00                        0.00                                      36.66                 183.34
          exemption overage; Orig. Description: TV, Laptop,
         Tablet; Imported from original petition Doc# 1; Exemption:
         TV, Laptop, Tablet - Amount: 300.00
 5       Guitars and accessories                                               400.00                        0.00                                       0.00                    FA

 6       Old Clothes                                                            20.00                        0.00                                       0.00                    FA

 7       Watch, costume jewelry                                                  5.00                        0.00                                       0.00                    FA

 8       Checking Account: Centennial Bank                                      20.00                      136.43                                      22.74                 113.69
           Asset value changed from $156.43 on amended
         schedules doc. 10; bank statement confirms balance of
         $156.43

 9       Savings Account: Centennial Bank                                      100.00                        0.00                                       0.00                    FA

10       Checking Account: First Commerce CU                                   300.00                        0.00                                       0.00                    FA

11       Ret. or Pension Acct.: IRA                                              0.00                        0.00                                       0.00                    FA

12       20 Gage Mossberg (u)                                                   75.00                        0.00                                       0.00                    FA
           Asset added on amended schedules doc. 10

13       2017 tax refund (u)                                              Unknown                        1,900.00                                       0.00             1,900.00
           estimated

                                                                                                                                              Printed: 01/17/2018 01:57 PM    V.13.32
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                                                                                    Form 1                                                                                    Page: 2

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
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                               1                                            2                         3                          4                    5                       6

                       Asset Description                                Petition/            Estimated Net Value             Property            Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,       Abandoned            Received by       Administered (FA)/
                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.       the Estate        Gross Value of
Ref. #                                                                                         and Other Costs)                                                    Remaining Assets

13       Assets         Totals (Excluding unknown values)               $140,420.00                       $2,236.43                                       $92.74            $2,363.69


     Major Activities Affecting Case Closing:
             Promissory note collections through October 15, 2018.
             2017 tax return/refund (noticed 1-1-18)
             TFR
             Promissory note-Equity interest in miscellaneous household goods and furnishings ($200); equity interest in TV laptop, tablet ($220); Centennial Bank checking
             account ($136.43).
             Total of $556.43 payable at the rate of $46.37 per month. Commence on November 15, 2017.
             objections due by 11-8-17 re: NOITS; no objections were filed
             prepared & file NOITS doc. #17 (owed signed note)
             notice of assets filed doc. #14
             promissory note @ $556.43 to be signed sent 10-6-17

     Initial Projected Date Of Final Report (TFR): October 1, 2018                         Current Projected Date Of Final Report (TFR): October 1, 2018




                 January 17, 2018                                                          /s/ Mary W. Colon, chapter 7 trustee
          __________________________                                                       _________________________________________________________________
                       Date                                                                Mary W. Colon, chapter 7 trustee




                                                                                                                                                  Printed: 01/17/2018 01:57 PM    V.13.32
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                                                                             Form 2                                                                                    Page: 1
                                                         Cash Receipts And Disbursements Record
Case Number:         17-40327 KKS                                                                Trustee:          Mary W. Colon, chapter 7 trustee (290330)
Case Name:           WILSON, DON THORNTON                                                        Bank Name:        Rabobank, N.A.
                                                                                                 Account:          ******0966 - Checking Account
Taxpayer ID #:       **-***7395                                                                  Blanket Bond:     $10,276,000.00 (per case limit)
Period Ending:       12/31/17                                                                    Separate Bond:    N/A

   1           2                           3                                   4                                         5                   6                     7
 Trans.     {Ref #} /                                                                                                 Receipts        Disbursements          Checking
  Date      Check #            Paid To / Received From             Description of Transaction           T-Code           $                  $             Account Balance
11/17/17                  Wilson, Don                      Acct #1 NOITS DOC. #17; Payment #1; note                          46.37                                       46.37
                                                           payment
               {3}                                           Acct #1 NOITS DOC.                 16.67   1129-000                                                         46.37
                                                             #17; Payment #1; note
                                                             payment
               {4}                                           Acct #1 NOITS DOC.                 18.33   1129-000                                                         46.37
                                                             #17; Payment #1; note
                                                             payment
               {8}                                           Acct #1 NOITS DOC.                 11.37   1129-000                                                         46.37
                                                             #17; Payment #1; note
                                                             payment
11/30/17                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                  10.00                  36.37
12/15/17                  Wilson, Don                      Acct #1 NOITS DOC. #17; Payment #2; note                          46.37                                       82.74
                                                           payment
               {3}                                           Acct #1 NOITS DOC.                 16.67   1129-000                                                         82.74
                                                             #17; Payment #2; note
                                                             payment
               {4}                                           Acct #1 NOITS DOC.                 18.33   1129-000                                                         82.74
                                                             #17; Payment #2; note
                                                             payment
               {8}                                           Acct #1 NOITS DOC.                 11.37   1129-000                                                         82.74
                                                             #17; Payment #2; note
                                                             payment
12/29/17                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                  10.00                  72.74




                                                                                                   Subtotals :               $92.74              $20.00
  {} Asset reference(s)                                                                                                                 Printed: 01/17/2018 01:57 PM    V.13.32
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                                                                       Form 2                                                                                     Page: 2
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  1           2                        3                                4                                                5              6                     7
Trans.     {Ref #} /                                                                                               Receipts      Disbursements          Checking
 Date      Check #         Paid To / Received From           Description of Transaction               T-Code          $                $             Account Balance

                                                                      Account ******0966
                                                                                Balance Forward                   0.00
                                                                              2          Deposits                92.74         0         Checks                    0.00
                                                                              0 Interest Postings                 0.00         2 Adjustments Out                  20.00
                                                                                                                               0   Transfers Out                   0.00
                                                                                           Subtotal              92.74
                                                                                                                                            Total                 20.00
                                                                               0     Adjustments In               0.00
                                                                               0       Transfers In               0.00
                                                                                              Total              92.74

                            Net Receipts :           92.74            Case Totals
                                               ————————
                                                                                Balance Forward                   0.00
                                Net Estate :        $92.74
                                                                              2          Deposits                92.74         0         Checks                    0.00
                                                                              0 Interest Postings                 0.00         2 Adjustments Out                  20.00
                                                                                                                               0   Transfers Out                   0.00
                                                                                           Subtotal              92.74
                                                                                     Adjustments In                                         Total                 20.00
                                                                               0                                  0.00
                                                                               0       Transfers In               0.00
                                                                                              Total              92.74          Net Total Balance                 72.74



                   January 17, 2018                                           /s/ Mary W. Colon, chapter 7 trustee
            __________________________                                        _________________________________________________________________
                         Date                                                 Mary W. Colon, chapter 7 trustee




 {} Asset reference(s)                                                                                                             Printed: 01/17/2018 01:57 PM    V.13.32
